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     Attorney for Defendant
 5
     NGAI CHUNG HUNG
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10                                          SACRAMENTO DIVISION

11
                                                     )
12   UNITED STATES OF AMERICA,                       )   Case No. CR S 09-0438-03 WBS
                                                     )
13                                 Plaintiff,        )   STIPULATION AND [PROPOSED]
                                                     )   ORDER TO MODIFY CONDITIONS OF
14          vs.                                      )
                                                     )   SUPERVISED RELEASE TO ALLOW
15                                                   )   TRAVEL
                                                     )
16   NGAI CHUNG HUNG,                                )
                                                     )
17                                 Defendants.       )
18
19           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
20   AMERICA, through its counsel of record, Heiko P. Coppola, Assistant United States Attorney,
21   and Defendant, NGAI CHUNG HUNG, through his counsel of record, Joseph J. Wiseman, that
22   Defendant’s conditions of supervision be modified to permit him to travel out of the country for
23   a family matter. Specifically, Mr. Hung wishes to make a one-time trip to Hong Kong for
24   approximately one week to be with his wife who resides in Hong Kong and is scheduled to
25   undergo surgery. Mr. Hung expects to leave the week of February 16, 2015 and return
26   approximately ten days later, though the exact dates of his travel have not been confirmed,
27   pending this Court’s approval of his travel request, and Mrs. Hung’s surgery schedule.
28           Mr. Hung’s probation officer, Barry Fisher, has no objection to this request for travel,
     however, the officer did request approval from the Court.
                                                     1
     Stipulation and Proposed Order To Modify                                   CR S 09—0438 EJG WBS
     Conditions of Supervised Release To Allow
     Travel
      Case 2:09-cr-00438-WBS Document 105 Filed 02/12/15 Page 2 of 2



 1           Therefore, undersigned are entering into this stipulation to request this modification be
 2   made to defendant’s supervised release enabling Defendant to travel to Hong Kong to be with
 3   his wife.
 4           It is so stipulated.
 5   Dated: February 11, 2015                      Respectfully submitted,
 6                                                 WISEMAN LAW GROUP, P.C.
 7                                                 By:     /s/ Joseph J. Wiseman
                                                           JOSEPH J. WISEMAN
 8
                                                           Attorney for Defendant
 9                                                         NGAI CHUNG HUNG

10   Dated: February 11, 2015                      BENJAMIN B. WAGNER
11                                                 United States Attorney

12                                                 By:       /s/ Heiko P. Coppola
                                                          HEIKO P. COPPOLA, AUSA
13                                                        Attorney for Plaintiff
14                                                        UNITED STATES OF AMERICA

15
16
17                                                ORDER
18
19           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
20   conditions for supervised release of defendant, NGAI CHUNG HUNG, be modified as noted
21   above to permit the defendant to travel to Hong Kong, departing in February 2015, and
22   returning to California within ten days. All other conditions of supervised release shall remain
23   in force.
24   Dated: February 11, 2015

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                                                      2
     Stipulation and Proposed Order To Modify                                   CR S 09—0438 EJG WBS
     Conditions of Supervised Release To Allow
     Travel
